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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov
In re:
 ALEJANDRO FABIAN SCOLNIK,                         Case No. 19-16856-RAM
                                                   Previous Chapter 11
          Debtor.                                  Chapter 7
 _______________________________/

                TRUSTEE’S NOTICE OF JOINDER IN DEBTOR’S
          MOTION TO VACATE DISMISSAL AND REINSTATE CASE [D.E. 83]

         MARCIA T. DUNN, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

Alejandro Fabian Scolnik (the “Debtor”), by and through undersigned counsel, files this Notice of

Joinder in Debtor’s Motion to Vacate Dismissal and Reinstate Case (the “Motion”) [D.E. 83]. The

Trustee, having reviewed Debtor’s Motion and filing, hereby joins Debtor and requests that the

Order Dismissing Case [D.E. 81] be vacated and that the Chapter 7 case be reinstated, and granting

such other and further relief that the Court may deem just and proper.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by U.S.

mail on this 19th day of September, 2019, upon the Debtor and scheduled secured creditors:

 Alejandro Fabian Scolnik, Debtor                 Bank of America
 21200 NE 38th Avenue, #501                       450 American Street
 Aventura, FL 33180                               Simi Valley, CA 93065

 Biscayne Bank                                    JPMorgan Chase
 2601 S. Bayshore Drive, Suite 600                600 Community Drive
 Coconut Grove, FL 33133                          Manhasset, NY 11030




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        I FURTHER CERTIFY that a true and correct copy of the foregoing was served via Notice

of Electronic Filing (CM/ECF) on this 19th day of September, 2019, upon all registered users in

this case.

                                           DUNN LAW, P.A.
                                           Counsel for Marcia T. Dunn, Trustee
                                           66 West Flagler Street, Suite 400
                                           Miami, Florida 33130
                                           Tel: 786-433-3866 | Fax: 786-260-0269
                                           michael.dunn@dunnlawpa.com

                                           By:     /s/ Michael P. Dunn
                                                   Michael P. Dunn, Esq.
                                                   Florida Bar No. 100705




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